. Cage 2:11-cv-05108-DSF-SP Document1 Filed 06/17/11

Page 10f16 Page ID#:4

FILED
Victor A. Raphael, Esq. (SBN: 213268) . :
LAW OFFICES OF VICTOR A. RAPHAEL 21 JUN TT PM 12: 58
11801 Pierce Street, 2"° Floor CLERK US. DISTRICT couRT
Riverside, California 92505 CENTRAL DoT, OF CALIF,
Telephone: (951) 710-3252 EER Stat

Facsimile: (951) 710-3271 ay

e-mail: victor@victorrlaw.com

J. Curtis Edmondson, Esq. (SBN: 236105)
LAW OFFICES OF J. CURTIS EDMONDSON
15490 NW Oak Hills Drive

Beaverton, Oregon 97006

Telephone: (503) 701-9717

Facsimile: (503) 214-8470

e-mail: jceedmondson@edmolaw.com

Attorneys for Plaintiff,
JOSEPH O’BRIEN
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

g ORF t PE

JOSEPH O’BRIEN, Case No.:

Plaintiffs,
VS.

RANDOM HOUSE, INC., a New York
Corporation,

Defendants.

ost (Su

COMES NOW, Plaintiff, JOSEPH O’BRIEN, (hereinafter “Plaintiff” or

“O’BRIEN”) and complains of and alleges the following:
Mill

Mit
Mf]

COMPLAINT FOR COPYRIGHT INFRINGMENT

i)

4

Be 2:11-cv-05108-DSF-SP Document1 Filed 06/17/11 Page 2of16 Page ID#:5

INTRODUCTION AND OVERVIEW.
1. This is a copyright infringement case, wherein Defendant
RANDOMHOUSE INC., (hereinafter, “Defendant” or “RANDOMHOUSE”) engaged in

advertising activity, including but not limited to the illegal use of a copyright protected

photograph on the internet via their website, and/or on the cover of book(s) published by
RANDOMHOUSE featuring Plaintiff's copyright protected photograph of a rare
Chenghua chicken cup, without Plaintiff’s permission. The book(s) published and sold
by Defendant is entitled “A Cup of Light” featuring Plaintiffs copyright-protected
photograph on the cover of said book(s). The use of Plaintiff’s copyright-protected
photograph abused by Defendant on the internet and by publication of the Plaintiff's
image of the rare Chenghua chicken cup to the general public, causing significant
advertising injury to Plaintiff. If successful, Plaintiff seeks recovery of all remedies
available under law including but not limited to his damages, all of Defendant’s profits,
and payment of Plaintiff's attorney’s fees and costs. Furthermore, RANDOMHOUSE
has contributed to third party copyright infringement, inter alia, by allowing Plaintiffs
copyright protected photograph to be displayed on third party commercial sites, such as
“AMAZON.COM”. Furthermore, the copyrighted image has been derivatively
reproduced on such “ebook” readers as the “KINDLE”.
JURISDICTION AND VENUE

2. This Court has federal question jurisdiction under 28 U.S.C. §§1331,

1338(a).

3. The claims asserted herein arose in this judicial district and all Defendants

do business in this judicial district.

4, Venue in this judicial district is proper under 28 U.S.C. §1391(b) and (c)
and §1400(a) in that this is the judicial district in which a substantial part of the acts and
omissions giving rise to the claims occurred.

5. This is an action for copyright infringement under the Copyright Act of
1976, title 17 U.S.C. §101 et. seq., seeking damages, attorneys’ fees, preliminary and

2
COMPLAINT FOR COPYRIGHT INFRINGMENT

Ca

se 2:11-cv-05108-DSF-SP Document1 Filed 06/17/11 Page 3of16 Page ID#:6

permanent injunctive relief and an accounting, as well as damages and other relief based

upon other claims related to the misappropriation of Plaintiff's intellectual property.

PARTIES
The Plaintiff
6. Plaintiff JOSEPH O’BRIEN is an individual, and is and was a citizen of the

State of California.

The Defendants

7. Plaintiff is informed and believes and thereon alleges that
RANDOMHOUSE, INC., is a corporation organized and existing under the law of the
State of California with its principal place of business located at 1745 Broadway, New
York, N.Y. 10019. Plaintiff is informed and believes and thereon alleges that
RANDMHOUSE, INC. is in the business of publishing.

8. Plaintiff is informed and believes and thereon alleges that Defendant
knowingly created, displayed, distributed, manufactured, and/or published Plaintiff's
copyright-protected photograph of a rare Chenghua chicken cup or that they have
otherwise contributed to the infringement of Plaintiff's copyright-protected work.

9. Plaintiff is informed and believes and thereon alleges that at all times
relevant hereto, the Defendant was the agent, affiliate officer, director, manager,
principal, partner, joint venturer, alter-ego and/or employee of the remaining Defendants
and was at all times acting within the scope of such agency, affiliate, officer, director,
manager, principal, partner, joint venturer, alter-ego and/or employment relationship and
actively participated in, or subsequently ratified and adopted or both, each and all of the
acts or conduct alleged herein, with full knowledge of all the facts and circumstances,
including, but not limited to, full knowledge of each and all of the violations of

Plaintiff's rights and the damages to Plaintiff proximately caused thereby.

COMPLAINT FOR COPYRIGHT INFRINGMENT

Ca

LH.

Be 2:11-cv-05108-DSF-SP Document1 Filed 06/17/11 Page 4of16 Page ID#:7

CLAIM FOR RELIEF
COPYRIGHT INFRINGEMENT UNDER 17 U.S.C. § 101, et. seq.
(Against All Defendants and Each of Them)

10. Plaintiff repeats, realleges and incorporates by reference in this paragraph
the allegations contained in this complaint as if fully set forth herein.

11. Plaintiff is an illustrator/photographer and collector and creates original
images taken from his collection of rare Chinese artifacts. Plaintiff has invested
significant time creating an educational website describing Chinese Porcelain, and the

ability to detect counterfeit or fake pieces. This website, located at www.earlyming.com

is an internationally known website for this area of specialized knowledge.

12. Plaintiff created an original photograph/image which featured a
depiction/photograph of a rare Chenghua chicken cup (there are less than 20 such cups
known to exist in the world today). Exhibit “A.” Plaintiff’s photograph contains
material wholly original to Plaintiff and is copyrightable subject matter under the laws of
the United States. Plaintiff applied for and received copyright registrations for his work
under Copyright Registration number VAu 1-047-307. A true and correct copy of
Plaintiffs copyright registration certificate is attached hereto as Exhibit “B.”

13. Plaintiff is informed and believes and thereon alleges that Defendant had
access to Plaintiff’s illustrations and photographs from viewing Plaintiffs copyright-

protected Images & Webpages located at www.earlyming.com. The image and

supporting text at issue was placed on Plaintiffs website on or before November, 2001.
14. Plaintiff is informed and believes, and thereon alleges, Defendant
wrongfully reproduced Plaintiffs image contained in Images & Webpages, without
Plaintiffs consent and engaged in acts of affirmative and widespread self-promotion
directed to the general public at large by crating advertisements, publications, and
webpages using Plaintiff's copyright-protected image of the rare Chenghua chicken cup,

distributing copies of Plaintiff’s work with a false and misleading designation of

4
COMPLAINT FOR COPYRIGHT INFRINGMENT

Cal

“Cp.

se 2:11-cv-05108-DSF-SP Document1 Filed 06/17/11 Page5of16 Page ID#:8

creation, ownership and origin, and falsely representing the Plaintiff’s work was their
own. Plaintiff did not have actual notice of such infringement until on or about 2010.

15. Defendant offered for sale, and in fact sold, books with Plaintiffs
copyright-protected photograph on the cover of said book. A copy of the cover of
Defendant’s published book, A Cup of Light, is attached hereto as Exhibit “C.”

16. Plaintiff is informed and believes and thereon alleges that Defendant further
infringed Plaintiff's copyright by making derivative works from Plaintiffs copyrighted
work, and/or by publishing, producing, and distributing books with Plaintiffs copyright-
protected photograph of the rare Chenghua chicken cup on the cover of said book
without Plaintiff's permission. Defendants then engaged in acts of affirmative and
widespread self-promotion directed to the public at large by creating books, webpage
advertisements using derivative works based on Plaintiffs copyright-protected image,
distributing copies of Plaintiff’s work with a false and misleading designation of
creation, ownership and origin, and falsely representing the Plaintiff’s work was their
own.

17. Plaintiff is informed and believes and thereon alleges that Defendant, if not
directly liable for infringement of Plaintiff's copyright, is also liable for contributory
copyright infringement because Defendant knew or should have known of the direct
infringement, had the right and ability to supervise the infringing conduct, and had an
obvious and direct financial interest in the infringing conduct.

18. Plaintiff is informed and believes and thereon alleges that Defendant, if not
directly liable for infringement of Plaintiff's copyright, is also vicariously liable for the
subject infringements because Defendant enjoys a direct financial benefit from another’s
infringing activity and has the right and ability to supervise the infringing activity.

19. Plaintiff has demanded that Defendant cease and desist from all publication,
use, and manufacturing of books and internet websites incorporating Plaintiffs

copyrighted work without Plaintiffs consent.

COMPLAINT FOR COPYRIGHT INFRINGMENT

Lh

Ca

ho

e 2:11-cv-05108-DSF-SP Document1 Filed 06/17/11 Page 6of16 Page ID#:9

20. Plaintiff has demanded a full accounting of the materials printed utilizing
the work that have been manufactured or published, bought and sold by Defendant.
Plaintiff has further demanded from Defendant an accounting of the revenues and profits
derived from sales of published books and websites printed utilizing the copyrighted
work.

21. Notwithstanding Plaintiff's demands that Defendant cease and desist from
their infringement, Defendant has willfully, intentionally and maliciously, and in
conscious disregard for Plaintiffs rights, and only in furtherance of those Defendant’s
sole pecuniary interest, continued to infringe on Plaintiff's copyright by making
derivative works from Plaintiff's copyrighted work, and/or by publishing, producing,
and distributing books with Plaintiffs copyright-protected photograph of the rare
Chenghua chicken cup on the cover of said book without Plaintiff’s permission.
Defendant then engaged in acts of affirmative and widespread self-promotion directed to
the public at large by creating books, webpage advertisements using derivative works
based on Plaintiff’s copyright-protected image, distributing copies of Plaintiffs work
with a false and misleading designation of creation, ownership and origin, and falsely
representing the Plaintiff's work was their own.

22. Plaintiff is informed and believes and thereon alleges that, notwithstanding
Plaintiff's demands that Defendant cease and desist its infringement, Defendant has
willfully, intentionally, and maliciously, in conscious disregard for Plaintiffs rights, and
only in furtherance of those Defendant’s sole pecuniary interests, continued to infringe
upon Plaintiff's copyright by making derivative works from Plaintiffs copyrighted
work, and/or by publishing, producing, and distributing books with Plaintiffs copyright-
protected photograph of the rare Chenghua chicken cup on the cover of said book
without Plaintiff's permission. Defendant then engaged in acts of affirmative and
widespread self-promotion directed to the public at large by creating books, webpage
advertisements using derivative works based on Plaintiffs copyright-protected image,
distributing copies of Plaintiff's work with a false and misleading designation of

6
COMPLAINT FOR COPYRIGHT INFRINGMENT

Cage 2:11-cv-05108-DSF-SP Document1 Filed 06/17/11 Page 7 of16 Page ID #:10

* }| creation, ownership and origin, and falsely representing the Plaintiffs work was their
own.

° 23. Defendant’s acts of copyright infringement and acts of affirmative and
widespread self-promotion of the copies of books and publications and websites directed
to the general public at large, as alleged above, have caused Plaintiff to suffer, and to
continue to suffer, substantial damage to his business in the form of diversion of trade,
loss of income and profits, and dilution of the value of its rights.

8 24. Further, as a direct result of the acts of copyright infringement and acts of
affirmative and widespread self-promotion of the photograph of the rare Chenghua
chicken cup directed to the general public at large as alleged above, Defendant has
obtained direct and indirect profits they would not otherwise have realized but for their
infringement of Plaintiff's copyrighted work. Plaintiff is entitled to disgorgement of
each of Defendant’s profits directly and indirectly attributable to said Defendant’s
infringement of the copyrighted work.

COMPLAINT FOR COPYRIGHT INFRINGMENT|

>,

ge 2:11-cv-05108-DSF-SP Document1 Filed 06/17/11 Page 8of16 Page ID#11

PRAYER FOR RELIEF
WHEREFORE, Plaintiff prays for judgment as follows:
1. That Defendant and its respective agents and servants be enjoined from

infringing Plaintiff's copyrights in any manner;

2. That Plaintiff be awarded all profits of Defendant plus all losses of Plaintiff,
the exact sum to be proven at the time of trial, or, if elected before final judgment,
statutory damages, as available under the Copyright Act, 17 U.S.C. §101 et seq.,;

3. That Plaintiff be awarded his attorneys’ fees as available under the
Copyright Act, 17 U.S.C. §101 et seq..,;

4. That Defendant accounts to Plaintiff for their profits and any damages
sustained by Plaintiff arising from the foregoing acts of infringement;

5. That Plaintiff be awarded pre-judgment interest as allowed by law;

6. That Plaintiff be awarded the costs of this action; and

7. That Plaintiff be awarded such further legal and equitable relief as the Court
deems proper.

Dated: June 15, 2011 LAW OFFICES OF J. CURTIS EDMONDSON

LAW OFFICES OF VICTOR RAPHAEL

By: LO / ee

VICTOR/RAPHAEL
Attorneys for Plaintiff
JOSEPH O’BRIEN

COMPLAINT FOR COPYRIGHT INFRINGMENT

Ly.

Cage 2:11-cv-05108-DSF-SP Document1 Filed 06/17/11 Page 9of16 Page ID #:12

DEMAND FOR JURY TRIAL

Plaintiff hereby demands a trial by jury in this action pursuant to F.R.C.P. 38 and
the Seventh Amendment of the Constitution.
Dated: June 15, 2011 LAW OFFICES OF J. CURTIS EDMONDSON

LAW OFFICES OF VICTOR RAPHAEL

Attorneys for Plaintiff
JOSEPH O’BRIEN

COMPLAINT FOR COPYRIGHT INFRINGMENT

T

Cas@ 2:11-cv-05108-DSF-SP Document1 Filed 06/17/11 Page 10o0f16 Page ID #:13

4 Exhibit “A”
2 Printout of Webpage from Plaintiff’s website circa 2002

27

28

10
COMPLAINT FOR COPYRIGHT INFRINGMENT,

Lnengnua meee Sa Cup

re:web/200203 10] 10545/http:// v..
2:11-cv-05108-DSF-SP Document 1 Filed SbA71i" Page 17 of 16 Pade IS Eee

EMYERNTE ARERIVE http:/wwy.taimantis. com’chinese/chenghua. html Goa FEB NOV Close

32 captures
10 Mar 02 - 27 May 09

[nant ALL i

Ming Dynasty - Ch'eng Hua

(1465 - 1487)
Six-character mark and period.

A Ducai Cup with traditional enamel decoration.
8.2cm. diam. ~ 3.4m. height

Weight 1.6 oz. Avoir (45.4 grams)

Fine condition.

Normally referred to as the ‘Chenghua (one word) Chicken Cup’. Finely decorated on the
exterior with two groups of cockerels parading in front of hens among chicks pecking at the
ground. Decoration in colorful overglaze enamels within delicate underglaze-blue outline. The
two separate scenes are divided by finely shaded underglaze-blue rock groupings among
bamboo, peonies. and narcissus. The reign mark inscribed in underglaze-blue within a double
square.

Most (if not all) Ch'ing copies show the cockerels in ditferent facing positions. with many
ruffled tail feathers versus the traditional 'three tail feathers’ on all known authenticated
Chenghua chicken cups. On April 27th, 1999, a Chenghua chicken cup set a record for the
highest price paid at auction for any Chinese work of art. Click here to view that article. To

f2 6/5/2011 11:05 AM
Cneuguua CmicKen Cup http: :; web.archive.org/web/200203 101 10545/http://www.taimantis.com/...

Case 2:11-cv-05108-DSF-SP Document1 Filed 06/17/11 Page 12o0f16 Page ID #:15

weeekute 48081. http. /vaww.taimantis.comchinese/chenghua.htmi Go FEB NOV Close
. >
#ia 32 captures i i
10 Mar 02 - 27 May 08 PTT oT I i 2001 2003 Hele

Click Thumbnail for full screen image.

(AOL users should use Uncompressed Images for best viewing)

Ped Pd fad

f2 6/5/2011 11:05 AM
Cas

27

28

f

b 2:11-cv-05108-DSF-SP Document1 Filed 06/17/11 Page 130f16 Page ID#:16

Exhibit “B.”
Plaintiffs copyright registration certificate

il
COMPLAINT FOR COPYRIGHT INFRINGMENT

Case 2:11-cv-05108-DSF-SP Document1 Filed 06/17/11
Certificate of Registration

Jhis Certificate issued under the seal of the Copyright
Office in accordance with title iw, United States Code,
attests that registration has been made for the work
identified below. The information on this certificate has
been made a part of the Copyright Citfice records.

Registerbl Copyrights, United States of America

Page 14 0f 16 Page ID #:17

Registration Number
VAu 1-047-307
Effective date of
registration:
November 16, 2010

Title of Work: Images & Webpages
Completion; Publication

Year of Completion: 2010

* Asther: Joseph OBrien

Author Created: text, photograph(s), map and/or technical drawing, Poetry and Creative Writing

Citizen of: United States

Copyright claimant

Domiciledia: United States

Copyright Claimant: Joseph OBrien

P.O. Box 4065, Crestline. CA, 92325, United States

Name: Joseph OBrien
Email: ljoeobrien@gmail.com
Address: P.O, Box 4065
Crestline, CA 92325 United States

_.. Helephone: — 909-338-5804

Name: Joseph OBrien
Date: November 16, 2010

Page lof 1

Cas@ 2:11-cv-05108-DSF-SP Document1 Filed 06/17/11 Page 15o0f16 Page ID #:18

* Exhibit “C.”

A copy of the cover of Defendant’s published book, A Cup of Light

27

28

12
COMPLAINT FOR COPYRIGHT INFRINGMENT

_ Case 2:11-cv-05108-DSF-SP Document 1 Filed 06/17/11 Page 16of16 Page ID#:19

Book Cover

A Cup of Light
2002

ISBN 0-385-31945-2

